



   Per Curiam.
  


  Powell, J. and Overton, J.(Campbell, J.
  
   absent)
  


  The defendant has not shewn us how he can make a title, though he has been particularly called upon to do it. The law is, that the title deeds themselves, or copies, would be higher evidence than the defendant’s oath, in the general way which he has sworn
  
   ;
  
  and as the plaintiff has it not in his power in this case, to shew that the defendant cannot make a right, nor can evidence be expected from him to that, effect ; the defendant ought to prove the affirmative, unless he had produced or referred to deeds of record. As he has not done it, let the money received be refunded, and the defendant perpetually enjoined from receiving the balance.
 
